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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

United States of America ex rel               )
Peter Galligan,                               )
                                              )      Case No: 17 C 4599
v.                                            )
                                              )      Chief Judge Ruben Castillo
Adtalem Global Education, et al.,             )



                                             ORDER

The Clerk of Court is directed to unseal Plaintiff’s complaint [1] the Order of Voluntary
Dismissal [19], and this Order. The rest of the case will remain under seal until further order of
the Court.




Dated: June 1, 2018                      /s/ Chief Judge Ruben Castillo
